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                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                www.flsb.uscourts.gov

In re:    Randy Rivera                                     Case No.: 23-12734-SMG
                                                           Chapter 13

                    Debtor(s)            /

                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the Notice of Continued

341 Meeting of Creditors and Confirmation Hearing was sent to all parties on the

attached service list on June 8, 2023.

Electronically: Robin Weiner, Trustee

First Class Mail:

Debtor(s), Randy Rivera
2955 Tulip Drive
Cooper City, FL 33026

All Creditors on the Matrix

                                             Respectfully Submitted:
                                             JOSE A. BLANCO, P.A.
                                             By: /s/ Jose A. Blanco | FBN: 062449
                                             Attorney for Debtor(s)
                                             102 E 49th ST
                                             Hialeah, FL 33013
                                             Tel. (305) 349-3463
